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                    UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI,
                          WESTERN DIVISION

UNITED STATES OF AMERICA


VERSUS                           CRIMINAL ACTION NO. 5:08cr20-DCB-DCB


CHARLES W. GAVIN A/K/A CHARLIE
GAVIN, MAE REE MCMILLIAN,
CHARLES MCCULLOUGH, AMANDA C.
STACY AND LINDA C. SALLEY                                           DEFENDANTS


                                  ORDER

     This cause is before the Court on defendant Amanda Stacy’s

(“Stacy”) Motion to Sever [docket entry no. 73] and defendant Linda

Salley’s (“Salley”) Motion to Sever [docket entry no. 76].               Having

carefully   considered   the    motions,   the     government’s      responses

thereto, all applicable statutory and case law, and being otherwise

fully advised in the premises, the Court finds and orders as

follows:

     Stacy and Salley both were indicted in a one-count indictment

for allegedly conspiring to commit a murder for hire in violation

of 18 U.S.C. § 1958. Also charged in the indictment are defendants

Charles Gavin, Mae Ree McMillian and Charles McCullough. Stacy and

Salley now separately move the Court for severance of their trials

from the trial of the other defendants.

     Federal Rule of Criminal Procedure 14 provides that “[i]f the

joinder of offenses or defendants in an indictment ... appears to

prejudice a defendant or the government, the court may order
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separate trials of counts, sever the defendants’ trials, or provide

any other relief that justice requires.”           The Court begins by

noting the general rule that “defendants indicted together should

be tried together.”     United States v. Nguyen, 493 F.3d 613, 625

(5th Cir. 2007) (citing United States v. Rocha, 916 F.2d 219, 227-

28 (5th Cir. 1990)).     Severance is proper only where a defendant

shows that “‘there is a serious risk that a joint trial would

compromise a special trial right of one of the defendants, or

prevent the jury from making a reliable judgment about guilt or

innocence.’”   Id. (quoting Zafiro v. United States, 506 U.S. 534,

539 (1993)).

     The Court now considers separately each of the motions.

                 1.   Amanda Stacy’s Motion to Sever

     Amanda Stacy makes three arguments in support of her motion to

sever: (1) that severance is necessary because Stacy’s defense

necessarily depends on the ability to call her co-defendants as

witnesses; (2) that Stacy’s defense requires introduction of other

crimes and wrongful acts of her co-defendants; and (3) that Stacy

would be unduly prejudiced by the introduction of evidence related

to crimes with which she is not charged.

     First, Stacy argues that severance is necessary because her

defense requires the exculpatory testimony of one of her co-

defendants. The Fifth Circuit Court of Appeals has articulated the

requirements for a prima facie case for severance based on the need


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for exculpatory testimony of a co-defendant: “A defendant must

show: (1) a bona fide need for the testimony; (2) the substance of

the testimony; (3) its exculpatory nature and effect; and (4) that

the co-defendant would in fact testify if severance were granted.”

Rocha, 916 F.2d at 232 (citations omitted).

     The Court finds that Stacy has not met the fourth part of the

test–-“that the co-defendant would in fact testify if severance

were granted”.   Id.   In seeking to satisfy this requirement, Stacy

offers two letters written to her by McCullough wherein McCullough

acknowledges Stacy’s lack of knowledge regarding the murder for

hire and offers to do anything possible to clear Stacy’s name.                 Of

important note, “an inference that a co-defendant would likely

testify does not meet the burden of showing that the co-defendant

would in fact testify.”         Id. (citing United States v. Kane, 887

F.2d 568 (5th Cir. 1989)).        In Rocha, the Fifth Circuit Court of

Appeals affirmed the district court’s denial of a motion to sever

where the defendant seeking severance offered only an affidavit

containing exculpatory information that had been signed by a co-

defendant. Rocha, 916 F.2d at 219. The Rocha court concluded that

this affidavit, although it contained exculpatory information, did

not prove that the co-defendant would in fact testify if severance

were granted. Id. at 232. Applying the Rocha court’s reasoning to

the instant case, the Court determines that, while these letters

may indicate some willingness on McCullough’s part to testify on


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behalf of Stacy, the letters alone fall short of the requisite

showing.

     Stacy’s second argument is that because her defense requires

introduction of other crimes and wrongful acts of her co-defendants

the Court should sever her portion of the trial to alleviate any

concerns of an undue prejudicial effect on the other defendants.

Specifically, Stacy plans to introduce evidence of her knowledge of

McCullough’s participation in drug-related activities prior to the

events involved in this case.             Stacy cites United States v.

Salomon, 609 F.2d 1172 (5th Cir. 1980), in support of her position

that severance is necessary.          In Salomon, Salomon and his co-

defendant Wood were tried in a joint trial.            Id.    When Wood took

the stand, he implicated Salomon not only in the charges for which

the two men were currently being tried, but also for earlier

instances   of   similar   conduct.       Id.   The   trial      court   denied

Salomon’s multiple requests to sever, opting instead to instruct

the jury to consider Wood’s testimony regarding the earlier conduct

only against Wood.     Id.      The appellate court reversed Salomon’s

conviction and remanded the case for a new trial, holding that

Salomon had shown substantial prejudice resulting from the trial

court’s denial of his motion to sever. Id. at 1177. Specifically,

the court determined that a limiting instruction was insufficient

to prevent prejudice to Salomon because it was too difficult for

the jury to keep Wood’s testimony of the earlier transactions


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separate from the evidence against Salomon.            Id. at 1175.

        This case does not raise the same concern for confusion as did

the Salomon case.      In Salomon, the co-defendant implicated Salomon

in prior instances of conduct similar to that for which the two men

were charged. Here, it does not appear from Stacy’s pleadings that

she     intends   to   implicate   McCullough    on    prior      instances      of

conspiracy to commit murder for hire.             Rather, Stacy seeks to

introduce evidence only of McCullough’s prior involvement in the

drug culture to show that she believed she was making a phone call

not to facilitate a murder for hire but rather to assist with some

drug-related activity.        The Court concludes that since the same

risk of confusion is not present that a limiting instruction would

adequately prevent any prejudice to McCullough.             Specifically, to

the extent that Stacy is permitted to introduce any of McCullough’s

prior bad acts, the Court will instruct the jury that those acts

are relevant only to Stacy’s state of mind and not to McCullough’s

guilt for conspiracy to commit murder for hire.

        The Court now considers Stacy’s final argument–-that the

evidence relating to Victim 2 would have a prejudicial spillover

effect.      The Court is not convinced that this risk of spillover

supports a decision to sever.           “It is clear that a defendant’s

absence from a particular episode in the conspiracy does not

mandate severance.” United States v. Rocha, 916 F.2d 219, 228 (5th

Cir. 1990) (citing United States v. DeVarona, 872 F.2d 114, 120


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(5th Cir. 1989)).       Rather, “[t]he test for severance under Rule 14

is whether the jury could sort out the evidence reasonably and view

each   defendant    and    the   evidence      relating    to    that    defendant

separately.     If cautionary instructions are deemed sufficient,

severance is not required.”        Id. (quoting United States v. Merida,

765 F.2d 1205, 1219 (5th Cir. 1985) (alteration in original)

(emphasis added)).

       Here,   Stacy    argues    that       she   would    be   prejudiced         by

introduction of evidence related to Victim 2, when she was only

allegedly involved in the plot to murder Victim 1.                    Based on the

information    presently    before   the      Court,    there    is     nothing     to

indicate that the jury, when equipped with the proper limiting

instructions, would be unable to determine which evidence pertained

to each particular defendant.        Accordingly, since none of Stacy’s

arguments demonstrates the need for severance, Stacy’s motion is

denied.

                   2.   Linda Salley’s Motion to Sever

       Linda Salley argues that severance is necessary to allow her

the opportunity to cross-examine co-defendant Charles Gavin on

statements he made to a cooperating witness which inculpate Salley.

The government has confirmed its intent to introduce such tape

recorded conversations at trial.

       As noted above, a defendant may have a right to severance

under the Sixth Amendment based on the right to compel a co-


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defendant’s testimony.         United States v. Nguyen, 493 F.3d 613, 625

(5th Cir. 2007) (citing United States v. Barnett, 1976 F.3d 138,

145 (5th Cir. 1999)).           The Court reiterates that severance is

required only where the defendant has shown “a bona fide need for

the    testimony,      the   substance   of    the    desired    testimony,         the

exculpatory effect of the desired testimony, and indication that

the co-defendant would indeed testify at a separate trial.”                         Id.

(citing United States v. Kane, 887 F.2d 568, 573 (5th Cir. 1989).

Salley     has   not   met   this   burden.       Although      she   arguably       as

demonstrated a need for the testimony, Salley has provided no

information as to the substance of the testimony or its exculpatory

effect.     Nor has Salley given any indication that Gavin would be

willing to testify at trial. Thus, Salley’s motion to sever is not

well-taken.      Accordingly,

        IT IS HEREBY ORDERED that defendant Stacy’s Motion to Sever

[docket entry no. 73] is DENIED.

        IT IS FURTHER ORDERED that defendant Salley’s Motion to Sever

[docket entry no. 76] is DENIED.

        SO ORDERED, this the 23rd day of January 2009.

                                                s/ David Bramlette

                                              UNITED STATES DISTRICT JUDGE




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